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LAW OFFICE OF ANTHONY M. VASSALLO
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------X
In re

JORDAN L. LUCKETT,                                             Case No. 18-40874-ess
                                                               Chapter 13

                                 Debtor.
-----------------------------------------------------------X

                  CERTIFICATE OF SERVICE OF NOTICE OF TIME
                   TO CONSIDER CONFIRMATION OF AMENDED
                  CHAPTER 13 PLAN DATED SEPTEMBER 18, 2018

         The undersigned attorney, duly licensed in the State of New York and admitted to

this Court, hereby certifies under the penalty of perjury that on September 21, 2018, he

served a true and correct copy of the annexed Notice of Time to Consider Confirmation

of Amended Chapter 13 Plan Dated September 18, 2018 (including the Amended Chapter

13 Plan) on the parties on the annexed schedule by first-class U.S. Mail:

Dated: Brooklyn, New York
       October 5, 2018
                                                   By: /s/Anthony M. Vassallo
                                                          Anthony M. Vassallo
                                                          305 Fifth Avenue
                                                          Brooklyn, NY 11215
                                                          (347) 464-8277




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                           Notice of Confirmation Hearing




                                         2  
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
====================================X

In re:

JORDAN L. LUCKETT,                                                   Case No: 1-18-40874-ess
                                                                     Chapter 13

                         Debtor.

====================================X

                   NOTICE OF TIME TO CONSIDER CONFIRMATION OF
                 AMENDED CHAPTER 13 PLAN DATED SEPTEMBER 18, 2018

          PLEASE TAKE NOTICE that Jordan L. Luckett (the “Debtor”) has filed a proposed
Amended Chapter 13 Plan and is seeking entry of an Order of Confirmation of the Plan.
          A hearing to consider confirmation of the Amended Chapter 13 Plan and any objections
timely filed no later than 7 days prior to the hearing will be held on October 15, 2018 at 9:00 a.m.
or as soon thereafter as counsel may be heard, at the United States Bankruptcy Court for the Eastern
District of New York, 271-C Cadman Plaza East, Courtroom 3585, Brooklyn, NY 11201.
          Your rights may be affected. You should read the Plan carefully and consult with an attorney
as to its legal effect. If you do not want the Court to grant the relief requested, or, if you want the
Court to consider your views on confirmation of the Amended Chapter 13 Plan, a written objection
explaining your objection and the legal basis therefor must be filed with the Bankruptcy Court
Clerk’s Office no later than 7 days prior to the hearing. You must also attend the hearing.
          If no written objection is filed, or if no appearance is made in support of an objection,
the Court without further hearing may enter an order confirming the Chapter 13 Plan.
Dated: Brooklyn, New York                        LAW OFFICE OF ANTHONY M. VASSALLO
       September 21, 2018                        Attorney for Jordan L. Luckett

                                                 By:       /s/Anthony M. Vassallo
                                                           Anthony M. Vassallo
                                                           305 Fifth Avenue
                                                           Suite 1B
                                                           Brooklyn, NY 11215




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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------X                                                 CHAPTER 13
IN RE:                                                                                                   CASE NO.: 18-40874
Jordan L. Luckett,



                             DEBTOR(S).
--------------------------------------------------------X
                                                      CHAPTER 13 PLAN                                                    Revised 12/19/17


      ✔
            Check this box if this is an amended plan. List below the sections of the plan which have been
            changed:
            Section 2.1, Section 2.2, and Section 6.1
            _________________________________________________________________________________

PART 1: NOTICES
To Debtors: This form sets out options that may be appropriate in some cases, but the presence of an option on the form
does not indicate that the option is appropriate in your circumstance or that it is permissible in your judicial district. Plans
that do not comply with the local rules for the Eastern District of New York may not be confirmable. If you do not have an
attorney, you may wish to consult one.
To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated. You should
read this plan carefully and discuss it with your attorney. If you do not have an attorney, you may wish to consult one.
If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection
to confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the
Bankruptcy Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is
filed. See Bankruptcy Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under any
plan.

1.1: The following matters may be of particular importance. Debtors must check one box on each line to state
whether or not the plan includes each of the following items. If an item is checked as “Not Included” or if
both or neither boxes are checked, the provision will be ineffective if set out later in the plan.

 a.       A limit on the amount of a secured claim, set out in Section 3.4, which may result in               Included     ✔
                                                                                                                               Not included
          a partial payment or no payment at all to the secured creditor

 b.       Avoidance of a judicial lien or nonpossessory, non-purchase-money security interest,                Included     ✔
                                                                                                                               Not included
          set out in Section 3.6
 c.       Nonstandard provisions, set out in Part 9                                                           Included     ✔
                                                                                                                               Not Included


1.2: The following matters are for informational purposes.

 a.       The debtor(s) is seeking to modify a mortgage secured by the debtor(s)’s principal                  Included     ✔
                                                                                                                               Not included
          residence, set out in Section 3.3

 b.       Unsecured Creditors, set out in Part 5, will receive 100% distribution of their timely filed        Included     ✔
                                                                                                                               Not included
          claim
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PART 2: PLAN PAYMENTS AND LENGTH OF PLAN
2.1: The post-petition earnings of the debtor(s) are submitted to the supervision and control of the Trustee
                                                             60 months as follows:
and the Debtor(s) shall pay to the Trustee for a period of ______

$______
   600                         03/19/2018 through and including __________
        per month commencing __________                                                        5
                                                                  07/19/2018 for a period of _____
months; and
$______
   725  per month commencing __________
                               08/19/2018 through and including __________
                                                                  02/19/2023 for a period of _____
                                                                                               55
months.

         Continued on attached separate page(s).

2.2: Income tax refunds.
If general unsecured creditors are paid less than 100%, in addition to the regular monthly payments, during the
pendency of this case, the Debtor(s) will provide the Trustee with signed copies of filed federal and state tax
                                                       2018 no later than April 15th of the year following the
returns for each year commencing with the tax year ______,
tax period. Indicated tax refunds are to be paid to the Trustee upon receipt, however, no later than June 15th
of the year in which the tax returns are filed.

2.3: Additional payments.
Check one.
    ✔
       None. If “None” is checked, the rest of §2.3 need not be completed.
       Debtor(s) will make additional payment(s) to the Trustee from other sources, as specified below.
       Describe the source, estimated amount, and date of each anticipated payment.
   __________________________________________________________________________________
   __________________________________________________________________________________

PART 3: TREATMENT OF SECURED CLAIMS
3.1: Maintenance of payments (including the debtor(s)’s principal residence).
    Check one.
    ✔
       None. If “None” is checked, the rest of §3.1 need not be completed.
       Debtor(s) will maintain the current contractual installment payments on the secured claims listed
       below, with any changes required by the applicable contract and noticed in conformity with any
       applicable rules. These payments will be disbursed directly by the debtor(s).

                       Last 4 Digits of     Principal                                  Current Installment
  Name of Creditor        Account          Residence     Description of Collateral     Payment (including
                          Number          (check box)                                       escrow)




         Continued on attached separate page(s).
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3.2: Cure of default (including the debtor(s)’s principal residence).
    Check one.
    ✔
       None. If “None” is checked, the rest of §3.2 need not be completed.
       Any existing arrearage on a listed claim will be paid in full through disbursements by the trustee, with
       interest, if any, at the rate stated below. Unless otherwise ordered by the court, the amounts listed on
       a proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) control over any
       contrary amounts listed below. In the absence of a contrary timely filed proof of claim, the amounts
       listed below are controlling.

                           Last 4       Principal
                                                                                      Amount of    Interest Rate
   Name of Creditor       Digits of    Residence       Description of Collateral      Arrearage       (if any)
                          Acct No.    (check box)




         Continued on attached separate page(s).

3.3: Modification of a mortgage secured by the debtor(s)’s principal residence.
    Check one.
    ✔
       The debtor(s) is not seeking to modify a mortgage secured by the debtor’s principal residence.
       The debtor(s) is seeking to modify a mortgage secured by the debtor(s)’s principal residence.
       Complete paragraph below.
       If applicable, the debtor(s) will be requesting loss mitigation pursuant to General Order #582.

The mortgage due to _______________________(creditor name) on the property known as
___________________ under account number ending ______ (last four digits of account number) is in default.
All arrears, including all past due payments, late charges, escrow deficiency, legal fees and other expenses due
to the mortgagee totaling $_________, may be capitalized pursuant to a loan modification. The new principal
balance, including capitalized arrears will be $_________, and will be paid at ___% interest amortized over
_______ years with an estimated monthly payment of $__________ including interest and escrow of
$_________. The estimated monthly payment shall be paid directly to the trustee while loss mitigation is
pending and until such time as the debtor(s) has commenced payment under a trial loan modification.
Contemporaneous with the commencement of a trial loan modification, the debtor(s) will amend the Chapter
13 Plan and Schedule J to reflect the terms of the trial agreement, including the direct payment to the secured
creditor going forward by the debtor(s).
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 3.4: Request for valuation of security, payment of fully secured claims, and modification of
      under-secured claims.
     Check one.
     ✔
        None. If “None” is checked, the rest of §3.4 need not be completed.

           The remainder of this paragraph is only effective if the applicable box in Part 1 of this plan is
           checked.

           The debtor(s) shall file a motion to determine the value of the secured claims listed below. Such claim
           shall be paid pursuant to order of the court upon determination of such motion.

                  Last 4                                                               Estimated          Estimated
Name of                         Description of         Value of       Total Amount     Amount of         Amount of
                 Digits of                                              of Claim       Creditor’s         Creditor’s
Creditor                          Collateral           Collateral
                 Acct No.                                                            Secured Claim     Unsecured Claim




           Continued on attached separate page(s).

 3.5: Secured claims on personal property excluded from 11 U.S.C. §506.
    Check one.
     ✔
       None. If “None” is checked, the rest of §3.5 need not be completed.
       The claims listed below were either:
            o Incurred within 910 days before the petition date and secured by a purchase money security
                interest in a motor vehicle acquired for the personal use of the debtor(s); or
            o incurred within 1 year of the petition date and secured by a purchase money security interest
                in any other thing of value.
       These claims will be paid pursuant to §3.1 and/or §3.2. (The claims must be referenced in those
       sections as well.) Unless otherwise ordered by the court, the claim amount stated on a proof of claim
       filed before the filing deadline under Bankruptcy Rule 3002(c) controls over any contrary amount listed
       below. In the absence of a contrary timely filed proof of claim, the amounts stated below are
       controlling.

                               Last 4 Digits
  Name of Creditor                                     Collateral            Amount of Claim         Interest Rate
                               of Acct No.




            Continued on attached separate page(s).
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   3.6: Lien avoidance.
       Check one.
       ✔
          None. If “None” is checked, the rest of §3.6 need not be completed.

           The remainder of this paragraph is only effective if the applicable box in Part 1 of this plan is
           checked.

           The debtor(s) shall file a motion to avoid the following judicial liens or nonpossessory, non-purchase
           money security interests as the claims listed below impair exemptions to which the debtor(s) are
           entitled under 11 U.S.C. §522(b) or applicable state law. See 11 U.S.C. §522(f) and Bankruptcy Rule
           4003(d). Such claim shall be paid pursuant to order of the court upon determination of such motion.
                                                                             Estimated   Interest Rate   Estimated
                     Attorney for        Lien           Description of       Amount of    on Secured     Amount of
Name of Creditor                                                              Secured      Portion, if   Unsecured
                       Creditor      Identification       Collateral
                                                                               Claim          any          Claim




            Continued on attached separate page(s).


   3.7: Surrender of collateral.
       Check one.
       ✔
          None. If “None” is checked, the rest of §3.7 need not be completed.
          The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s
          claim. The debtor(s) request that upon confirmation of this plan the stay under 11 U.S.C. §362(a) be
          terminated as to the collateral only and that the stay under 11 U.S.C. §1301 be terminated. Any timely
          filed allowed unsecured claim resulting from the disposition of the collateral will be treated in Part 5
          below.

                                           Last 4 Digits of
           Name of Creditor                                                 Description of Collateral
                                              Acct No.




            Continued on attached separate page(s).
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PART 4: TREATMENT OF FEES AND PRIORITY CLAIMS


4.1: General.
Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated
in §4.5, will be paid in full without post-petition interest.


4.2: Trustee’s fees.
Trustee’s fees are governed by statute and may change during the course of the case.



4.3: Attorney’s fees.
                                                                       1,500.00
The balance of the fees owed to the attorney for the debtor(s) is $_____________.


4.4: Priority claims other than attorney’s fees and those treated in §4.5.
Check One.
    ✔
       None. If “None” is checked, the rest of §4.4 need not be completed.
       The debtor(s) intend to pay the following priority claims through the plan:

                 Name of Creditor                                 Estimated Claim Amount




         Continued on attached separate page(s).


4.5: Domestic support obligations.
Check One.
    ✔
       None. If “None” is checked, the rest of §4.5 need not be completed.
       The debtor(s) has a domestic support obligation and is current with this obligation. Complete table
       below; do not fill in arrears amount.
       The debtor(s) has a domestic support obligation that is not current and will be paying arrears through
       the Plan. Complete table below.
                                Date of                          Monthly DSO     Amount of Arrears to be
 Name of Recipient                           Name of Court         Payment       Paid through Plan, If Any
                                Order
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   PART 5: TREATMENT OF NONPRIORITY UNSECURED CLAIMS
   Allowed nonpriority unsecured claims will be paid pro rata:
       ✔
           Not less than the sum of $__________.
                                         42875
           Not less than _______% of the total amount of these claims.
       ✔
           From the funds remaining after disbursement have been made to all other creditors provided for in
           this plan.
   If more than one option is checked, the option providing the largest payment will be effective.


   PART 6: EXECUTORY CONTRACTS AND UNEXPIRED LEASES
   6.1: The executory contracts and unexpired leases listed below are assumed and will be treated as
   specified. All other executory contracts and unexpired leases are rejected.
   Check one.
          None. If “None” is checked, the rest of §6.1 need not be completed.
       ✔
          Assumed items. Current installment payments will be paid directly by the debtor(s) as specified
          below, subject to any contrary court order or rule. Arrearage payments will be disbursed by the
          trustee.

                                   Description of Leased Property or     Current Installment   Amount of Arrearage
     Name of Creditor                                                    Payment by Debtor     to be Paid by Trustee
                                          Executory Contract
                               Apartment lease for debtor's residence           1900
A&R Realty LLC                                                                                         0.00




   PART 7: VESTING OF PROPERTY OF THE ESTATE
   Unless otherwise provided in the Order of Confirmation, property of the estate will vest in the
   debtor(s) upon completion of the plan.



   PART 8: POST-PETITION OBLIGATIONS

   8.1: Post-petition mortgage payments, vehicle payments, real estate taxes, and domestic support
   obligations are to be made directly by the debtor(s) unless otherwise provided for in the plan.

   8.2: Throughout the term of this Plan, the debtor(s) will not incur post-petition debt over $2,500.00
   without written consent of the Trustee or by order of the Court.
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PART 9: NONSTANDARD PLAN PROVISIONS
9.1: Check “None” or list nonstandard plan provisions.
     ✔
         None. If “None” is checked, the rest of §9.1 need not be completed.

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a
provision not otherwise included in the form plan or deviating from it. Nonstandard provisions set out
elsewhere in this plan are ineffective.

The following plan provisions will be effective only if there is a check in the box “included” in §1.1(c).
__________________________________________________________________________________________
__________________________________________________________________________________________
__________________________________________________________________________________________
__________________________________________________________________________________________



PART 10: CERTIFICATION AND SIGNATURE(S):

10.1: I/we do hereby certify that this plan does not contain any nonstandard provisions other than
those set out in the final paragraph.

/s/Jordan L. Luckett
_______________________________                         __________________________________
Signature of Debtor 1                                   Signature of Debtor 2

       September 18, 2018
Dated: _____________________                            Dated: _______________________



/s/Anthony M. Vassallo
_______________________________
Signature of Attorney for Debtor(s)

        September 18, 2018
Dated: ___________________
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                                              MAILING LIST

American  Express                      Prosper  Marketplace,  Inc.                 LVNV  Funding,  LLC  assignee  of  
PO  Box  981537                        101  2nd  Street                            Lending  Club  Corporation  
El  Paso,  TX  79998                   15th  Floor                                 PO  Box  10587  
                                       San  Francisco,  CA  94105                  Greenville,  SC  296030587  

Bank  of  America                      Trans  Union                                Prosper  Marketplace  Inc.  
PO  Box  982238                        PO  Box  1000                               c/o  Weinstein  &  Riley,  Ps  
El  Paso,  TX  79998                   Crum  Lynne,  PA  19022                     2001  Western  Avenue,  St  E  400  
                                                                                   Seattle,  WA  98121  

CSC  Credit  Services                  Wells  Fargo  Bank  NV  NA                Marianne  DeRosa,  Ch.  13  Trustee    
Box  740040                            PO  Box  94435                            125  Jericho  Tpke    
Atlanta,  GA  30374-­‐0040             Albuquerque,  NM  87199                   Suite  105    
                                                                                 Jericho,  NY  11753  
                                                                                   
Chase/Bank  One  Card  Serv            Wells  Fargo  Credit  Services            Office  of  the  United  States  Trustee    
PO  Box  15298                         PO  Box  14517                            Eastern  District  of  NY  (Brooklyn)  
Wilmington,  DE  19850                 Des  Moines,  IA  50306                   201  Varick  Street,  Suite  1006    
                                                                                 New  York,  NY  10014    
                                                                                   
Chex  Systems,  Inc.                   Wells  Fargo  Bank,  N.A.                 Internal  Revenue  Service  
Attn:  Consumer  Relations             435  Ford  Road,  Suite  30  0            Centralized  Insolvency  Operation  
7805  Hudson  Road,  Suite  100        Saint  Louis  Park,  MN  5542  61063      PO  Box  7346  
Woodbury,  MN  55125                                                             Philadelphia,  PA  19101-­‐7346  

Equifax  Information  Services         American  Express  National  Bank           Law  Office  of  Anthony  M.  Vassallo  
LLC                                    c/o  Becket  and  Lee  LLP                  305  Fifth  Avenue  
PO  Box  740256                        PO  Box  3001                               Brooklyn,  NY  11215  
Atlanta,  GA  30374                    Malvern  PA  1  93550701  

Experian                               Wells  Fargo  Bank,  N.A.                   LendingClub  Corporation  
PO  Box  9701                          Wells  Fargo  Card  Services                71  Stevenson  Street  
Allen,  TX  75013                      PO  Box  10438,  MAC  F8235  02F            Suite  300  
                                       Des  Moines,  IA  503060438                 San  Francisco,  CA  94105-­‐2985  

                                                                                     




                                                        4  
